     Case 1:22-bk-10283-MB     Doc 45 Filed 05/22/23 Entered 05/22/23 13:26:32      Desc
                                Main Document    Page 1 of 1



1     Amy L. Goldman, Trustee
      633 W. 5th Street
2     Suite 4000
      Los Angeles, California 90017
3
      Telephone: (213) 250-1800
4     Email: Marisol.Jaramillo@Lewisbrisbois.com

5

6     Chapter 7 Trustee
7

8                          UNITED STATES BANKRUPTCY COURT

9                            CENTRAL DISTRICT OF CALIFORNIA

10                                SAN FERNANDO DIVISION

11

12    In re                                    )    Case No.: 1:22-bk-10283-MB
                                               )
13    Lusine Cristine Dokuzyan                 )    Chapter 7
                          Debtor(s).           )
14                                             )    Chapter 7 Trustee’s Notice Of
                                               )    Submission Of Final Report To U.S.
15                                             )    Trustee
                                               )
16                                             )
                                               )
17

18            PLEASE TAKE NOTICE that Amy L. Goldman, the duly appointed, qualified

19    and acting Chapter 7 Trustee in the above-referenced case, submitted the Trustee’s

20    Final Report (TFR) to the U.S. Trustee on May 22, 2023.

21
                                                     /s/ Amy L. Goldman
22
                                                     AMY L. GOLDMAN
23                                                   Chapter 7 Trustee

24

25

26

27


                                              -1-
